













NUMBER 13-09-00296-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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SERGIO MOORE, TRUSTEE, 	Appellant,


v.



ESTATE OF JESUS D. MOORE, JR.,	Appellee. 

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On appeal from the 357th District Court  of Cameron County, Texas.


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MEMORANDUM OPINION


	

Before Justices Yañez, Benavides, and Vela 
Memorandum Opinion Per Curiam


	Appellant, Sergio Moore, Trustee, perfected an appeal from a judgment rendered
against him in favor of appellee, Estate of Jesus D. Moore, Jr.   On August 11, 2009, the
Clerk of this Court notified appellant that the clerk's record in the above cause was
originally due on June 15, 2009, and that the deputy district clerk, Christina Tusa, had
notified this Court that appellant failed to make arrangements for payment of the clerk's
record.  The Clerk of this Court notified appellant of this defect so that steps could be taken
to correct the defect, if it could be done.  See Tex. R. App. P. 37.3, 42.3(b),(c).   Appellant
was advised that, if the defect was not corrected within ten days from the date of receipt
of this notice, the appeal would be dismissed for want of prosecution.  

	Appellant has failed to respond to this Court's notice.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 42.3(b), (c). 	

									PER CURIAM

Memorandum Opinion delivered and

filed this the 1st day of October, 2009. 





	


